Peter C. Partnow, ASBA No. 7206029
LANE POWELL LLC
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Attorneys for Defendant

                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF ALASKA AT ANCHORAGE

TODD C. LAPORTE,

                                 Plaintiff,

v.
                                              Case No. 3:10-cv-00_______
WELLS FARGO INVESTMENTS, LLC,

                               Defendant.                NOTICE OF REMOVAL


TO:           The United States District Court
              For The District of Alaska

AND TO:       Hugh W. Fleischer, Esq.
              Law Offices of Hugh W. Fleisher, LLC
              310 K Street, Suite 200
              Anchorage, Alaska 99501
       Defendant Wells Fargo Investments, LLC (“WFI” or “Defendant”) notifies you that

pursuant to 28 U.S.C. § 1332 and 28 U.S.C. §§ 1441 and 1446, WFI hereby removes the

above-captioned action from the Superior Court for the State of Alaska, Third Judicial District

at Anchorage on the ground of jurisdiction based on diversity of citizenship. WFI submits the

following statement in accordance with 28 U.S.C. § 1446:

       1.     On June 14, 2010, plaintiff Todd LaPorte (“Plaintiff”) served WFI with a

Summons and Complaint for the above-captioned action filed in the Superior Court for the

State of Alaska, Third Judicial District at Anchorage, designated as Case No. 3AN-10-

08101 CI. See Declaration of Peter Partnow (“Partnow Decl.”) ¶ 2 and Exhibit A thereto.




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(Summons; Complaint). Plaintiff’s Complaint is premised upon alleged events and/or

omissions that occurred within the state of Alaska. See Ex. A (specifically, Complaint ¶ 3).

        2.      This Court is the United States District Court for the district and division within

which Plaintiff’s action in the Superior Court for the State of Alaska, Third Judicial District in

Anchorage, is pending. See 28 U.S.C. § 1441(a). Venue is therefore proper in this district

pursuant to 28 U.S.C. § 1391(a) and (c).

        3.      As required by 28 U.S.C. § 1446(b), this Notice of Removal is timely filed

within thirty (30) days from the date on which the action was served on WFI. Partnow
Decl. ¶ 3.

        4.      Plaintiff alleges in his Complaint that he resides within the Third Judicial

District of Alaska. See Complaint ¶ 1. Plaintiff is therefore a citizen of the State of Alaska.

        5.      Defendant WFI is registered in the State of Delaware with its primary place of

business in San Francisco, California. Partnow Decl. ¶ 4 and Exhibits B and C. Thus, under

28 U.S.C. § 1332(c)(1), WFI is deemed a citizen of the State of Delaware and the State of

California.

        6.      Because Plaintiff is a citizen of the State of Alaska and WFI is a citizen of the

States of California and Delaware, complete diversity of citizenship exists between the parties.
        7.       In addition, the amount in controversy in this matter exceeds the sum of

$75,000, exclusive of interest and costs; Plaintiff alleges damages in excess of $200,000. See

Exhibit A (specifically, Complaint ¶¶ 11, 12 and ¶ 3 of Plaintiff’s prayer for relief).

        8.      Because there is complete diversity of citizenship between Plaintiff and

Defendant and because the amount in controversy in this case exceeds $75,000, this Court

would have had jurisdiction over this case under 28 U.S.C. § 1332, had it been originally filed

in this Court. The case is therefore removable to this Court pursuant to 28 U.S.C. § 1441(b).




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          9.         As required by 28 U.S.C. § 1446, a true and correct copy of all state court

process, pleadings, or orders served on the removing parties to date are attached to the Partnow

Declaration as Exhibit A.

          10.        By seeking removal, WFI does not waive, and expressly reserves, all rights,

defenses, or objections of any nature that it may have to Plaintiff’s claims, including but not

limited to the right to compel arbitration of some or all of Plaintiff’s claims.

          11.        A copy of this Notice of Removal is being concurrently filed with the Clerk of

the Superior Court of Alaska, Third Judicial District at Anchorage, and concurrently served
upon the Plaintiff’s counsel pursuant to 28 U.S.C. § 1446(d).

          DATED this 6th day of July, 2010.
                                                           LANE POWELL LLC
                                                           Attorneys for Defendant

                                                           By /s/ Peter C. Partnow
                                                           301 West Northern Lights Boulevard, Suite 301
                                                           Anchorage, Alaska 99503-2648
                                                           Tel:   907-277-3317
                                                           Fax: 907-276-2631
                                                           Email: partnowp@lanepowell.com
                                                           ASBA No. 7206029
I certify that on July 6, 2010, a copy
of the foregoing was served by U.S. Mail and email on:

Hugh W. Fleischer, Law Offices of Hugh W. Fleischer, LLC
310 K Street, Suite 200, Anchorage, AK 99501
Email: hfleisch@aol.com
  /s/ Peter C. Partnow
707003.0009/173420.1




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